             IN THE DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION
                              2:14 cr 06-2


UNITED STATES OF AMERICA,                      )
                                               )
Vs.                                            )            ORDER
                                               )
EVARD LAMAR BRADLEY,                           )
                                               )
                 Defendant.                    )
__________________________________             )


       THIS MATTER has come before the undersigned pursuant to a Motion for

Reconsideration of Detention Order and Incorporated Memorandum of Law (#39)

filed by Andrew Banzhoff, attorney for Defendant. For the reasons stated herein,

the undersigned will deny the motion without prejudice.

       Discussion.

       LCrR 47.1(B) provides as follows:

       (B) Certificate of Conference With Filing.

       Pretrial motions, other than motions to suppress, ex parte motions,
       and notices (notice of substitution of counsel, notice of appearance,
       notice of intent to present certain types of evidence, etc.) shall include
       a certification that the moving party has conferred with opposing
       counsel and state opposing counsel’s position on the relief sought, or
       an explanation as to why conferring should not be required under the
       circumstances. If a hearing on a motion is requested, counsel should
       estimate the length of such hearing.


                                           1



      Case 2:14-cr-00006-MR-WCM       Document 40     Filed 09/22/14   Page 1 of 3
      The motion for reconsideration does not reflect that there has been

compliance with LCrR 47.1(B). The pleading does not contain any reference that

Defendant’s counsel has conferred with the U.S. Attorney’s Office regarding the

motion, nor does the pleading provide the position of the U.S. Attorney concerning

the relief sought by the Defendant. The pleading further does not contain an

explanation as to why conferring should not be required under the circumstances.

For that reason, the motion of the Defendant will be denied without prejudice.

      The motion for reconsideration is further denied for the reason that the

Defendant has not included within his motion the standard of review for this Court

to apply.

      Finally, the motion of Defendant does not show if Defendant is seeking

relief before this Court or before the District Court. In the motion, the Defendant

states the motion is being brought pursuant to 18 U.S.C. § 3145(b). That statute

states as follows:

      18 U.S.C. § 3145(b). Review and appeal of a release or detention order.

      (b) Review of a detention order---

      If a person is ordered detained by a magistrate judge, or by a person
      other than a judge of a court having original jurisdiction over the
      offense and other than a Federal appellate court, the person may file,
      with the court having original jurisdiction over the offense, a motion
      for revocation or amendment of the order. The motion shall be
      determined promptly.

                                         2



    Case 2:14-cr-00006-MR-WCM       Document 40    Filed 09/22/14   Page 2 of 3
      18 U.S.C. § 3145(b) provides for a review of an order of detention by a

District Judge who is a judge of a Court having original jurisdiction over the

offense.   The Motion for Reconsideration of Detention Order (#39) filed by

Defendant appears to request the undersigned Magistrate Judge to hear the

Defendant and reconsider this Court’s previously filed Order (#37). As a result,

the undersigned cannot determine whether or not the Defendant wishes to appeal

the Order of the undersigned revoking the terms and conditions of pretrial release

of Defendant (#37) to the District Court or whether or not the Defendant wishes

the undersigned to reconsider the issue.

      For all of the foregoing reasons, the undersigned has determined to enter an

Order denying Defendant’s motion without prejudice.

                                     ORDER

      IT IS, THEREFORE, ORDERED that the Motion For Reconsideration of

Detention Order and Incorporated Memorandum of Law (#39) is DENIED

without prejudice.

                                       Signed: September 22, 2014




                                           3



    Case 2:14-cr-00006-MR-WCM       Document 40         Filed 09/22/14   Page 3 of 3
